Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 1 of 13




                                Exhibit
                                  5
Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 2 of 13



                       IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
                             IN AND FOR BROWARD COUNTY, FLORIDA

                                                           Case No. CACE-13-010329
                                                           Division 2


   DEPICTO COMMERCIAL LTD.,
   a Foreign company,

         Plaintiffs,

   vs.

   WEBAZILLA LLC a/k/a Webzilla.com,
   a Florida dissolved Limited Liability Company,
   WEBZILLA INC a/k/a Webzilla.com,
   A Florida Corporation,
   ALEXEY GUBAREV, and
   KOSTYANTYN BEZRUCHENKO,

         Defendants.


   WEBAZILLA LLC,
   a Florida dissolved Limited Liability Company,

         Third-Party Plaintiff,

   vs.

   VICTOR LUKASHENKO,

         Third-Party Defendant.


       DEFENDANTS WEBAZILLA LLC AND WEBZILLA INC.’S ANSWER AND
     AFFIRMATIVE DEFENSES TO PLAINTIFF’S SECOND AMENDED COMPLAINT

             COME NOW the Defendants WEBAZILLA LLC (“Webazilla LLC”) and WEBZILLA

   INC. (“Webzilla Inc.” and together with Webazilla LLC, “Defendants”), by and through

   undersigned counsel and file this, their Answer and Affirmative Defenses to Plaintiff




                                                    1

                                                                                           P-K000052
Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 3 of 13



   DEPICTCO COMMERCIAL LTD’S (“Depicto”) Second Amended Complaint, and in support

   thereof state the following:

                                               PARTIES

          1.      Defendants are without sufficient information or knowledge to admit or deny the

   allegations of this paragraph and therefore deny the same.

          2.      Defendants admit only to the extent that Webazilla LLC was originally organized

   as a Wisconsin limited liability company, that Webazilla LLC converted to a Florida limited

   liability company, that Webazilla LLC was dissolved, and that prior to its dissolution, its

   principal place of business was listed as 110 E. Broward Blvd., Ste. 1700, Ft. Lauderdale, FL

   33301. Defendants deny the remaining allegations of this paragraph.

          3.      Defendants admit that Webzilla Inc. was incorporated on or about July 29, 2009

   in Florida, with a listed principal place of business of 110 E. Broward Blvd. 1700, Ft.

   Lauderdale, FL 33301 at the time of incorporation. Defendants deny the remaining allegations

   of this paragraph.

          4.      Defendants admit only to the extent that Alexey Gubarev was listed as a

   managing member of Webazilla LLC at the time that it converted to a Florida limited liability

   company. Defendants also admit only to the extent that Alexey Gubarev was listed as a “P” of

   Webzilla Inc. when it was initially incorporated. The remaining allegations of this paragraph do

   not pertain to Defendants and Defendants are without sufficient information to admit or deny the

   same, and therefore deny the same.

          5.      Defendants admit only to the extent that Konstyantyn Bezruchenko was listed as a

   member of Webazilla LLC at the time that it converted to a Florida limited liability company.

   Defendants also admit only to the extent that Konstyantyn Bezruchenko was listed as a “VP” of



                                                    2

                                                                                             P-K000053
Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 4 of 13



   Webzilla Inc. when it was initially incorporated. The remaining allegations of this paragraph do

   not pertain to Defendants and Defendants are without sufficient information to admit or deny the

   same, and therefore deny the same.

           6.      Denied.

           7.      Denied.

           8.      Denied.

           9.      Denied.

           10.     The statements made in this paragraph are not allegations, and therefore require

   no answer from Defendants. However, to the extent that a response to this paragraph is deemed

   necessary, Defendants deny the allegations of this paragraph. Without limiting the foregoing,

   Defendants explicitly deny that Webazilla LLC and Webzilla Inc. are “one and the same” and

   object to the use of “Webazilla” as referring collectively to Webazilla LLC and Webzilla Inc as

   “one and the same.”

                                            JURISDICTION

           11.     Defendants admit for jurisdictional purposes only, and deny in all other respects.

           12.     The allegations of this paragraph do not pertain to Defendants and Defendants are

   without sufficient information to admit or deny the same, and therefore deny the same.

           13.     The allegations of this paragraph do not pertain to Defendants and Defendants are

   without sufficient information to admit or deny the same, and therefore deny the same.

           14.     Defendants admit this paragraph for jurisdictional purposes only, and deny it in

   all other respects.

           15.     Defendants admit this paragraph for jurisdictional purposes only, and deny it in

   all other respects.



                                                    3

                                                                                           P-K000054
Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 5 of 13



          16.     The statements made in this paragraph are not allegations, and therefore require

   no answer from Defendants. However, to the extent that a response to this paragraph is deemed

   necessary, Defendants deny the allegations of this paragraph.

                                                 VENUE

          17.     Defendants admit for jurisdictional purposes only, and deny in all other respects.

                                                 FACTS

   Written Contract

          18.     Defendants admit that Webazilla LLC entered into a written contract with

   Depicto. In answering further, Defendants state that the attached document (the “Contract”)

   speaks for itself and no answer to the allegations contained in this paragraph is required. To the

   extent not specifically admitted and to the extent a response is deemed necessary, Defendants

   deny the allegations of this paragraph.

          19.     Defendants admit only that Webazilla LLC received sums from Depicto and/or its

   principle/alter-ego Victor Lukashenko (“Mr. Lukashenko”) pursuant to the Contract. Defendants

   are without sufficient information or knowledge to admit or deny the remaining allegations of

   this paragraph and therefore deny the same.

          20.     Defendants state that the Contract speaks for itself and no answer to the

   allegations contained in this paragraph is required. To the extent a response is deemed

   necessary, Defendants deny the allegations of this paragraph. Without limiting the foregoing,

   specifically, Defendants deny that Webazilla LLC had an obligation to repay any amounts

   received by May 1, 2009.

          21.     Defendants admit that Webazilla LLC did not repay the received amounts by May

   1, 2009. However, in answering further, Defendants deny that Webazilla LLC had any



                                                    4

                                                                                          P-K000055
Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 6 of 13



   obligation to repay any amounts received by May 1, 2009. In answering further, Defendants

   state that Depicto made no demand for repayment of the funds on May 1, 2009. In answering

   further, Defendants state that, in or about April of 2010, Depicto’s principal/alter-ego Mr.

   Lukashenko was sent to prison for approximately two years and Webazilla LLC was unable to

   contact Mr. Lukashenko to arrange for the repayment of received funds until two years later in

   2012. In answering further, in or about 2012, after Mr. Lukashenko was released from prison,

   Webazilla LLC paid all due amounts directly to Mr. Lukashenko on Mr. Lukashenko’s

   instructions and on Mr. Lukashenko’s representation that such repayment was in satisfaction of

   all amounts due under the Contract.

   Oral Contract and Wire Transfer #1

          22.     Denied.

          23.     Denied.

          24.     Denied.

   Oral Contract and Wire Transfer #2

          25.     Denied.

          26.     Denied.

   Oral Contract and Wire Transfer #3

          27.     Denied.

   Total Amount Loaned

          28.     Denied.

                                    CONDITIONS PRECEDENT

          29.     Denied.

                                            COUNT I
                             (Against Webazilla LLC and Webzilla Inc.)

                                                    5

                                                                                           P-K000056
Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 7 of 13



                              BREACH OF WRITTEN CONTRACT

          30.     Defendants restate and incorporate by reference their answers to the allegations in

   paragraph 1 through 21.

          31.     Defendants state that the Contract speaks for itself and no answer to the

   allegations contained in this paragraph is required. To the extent a response is deemed

   necessary, Defendants deny the allegations of this paragraph.

          32.     Denied.

          33.     Denied.

                                            COUNT II
                             (Against Webazilla LLC and Webzilla Inc.)
                                BREACH OF ORAL CONTRACT

          34.     Defendants restate and incorporate by reference their answers to the allegations in

   paragraph 1 through 21.

          35.     Denied.

          36.     Denied.

                                           COUNT III
                             (Against Webazilla LLC and Webzilla Inc.)
                                BREACH OF ORAL CONTRACT

          37.     Defendants restate and incorporate by reference their answers to the allegations in

   paragraph 1 through 2.

          38.     Denied.

          39.     Denied.

                                           COUNT IV
                             (Against Webazilla LLC and Webzilla Inc.)
                                BREACH OF ORAL CONTRACT




                                                   6

                                                                                          P-K000057
Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 8 of 13



          40.    Defendants restate and incorporate by reference their answers to the allegations in

   paragraph 1 through 21.

          41.    Denied.

          42.    Denied.

                                           COUNT V
                            (Against Webazilla LLC and Webzilla Inc.)
                           QUAI CONTRACT (UNJUST ENRICHMENT)

          43.    Defendants restate and incorporate by reference their answers to the allegations in

   paragraph 1 through 21.

          44.    Denied.

          45.    Denied.

          46.    Denied.

          47.    Denied.

                                    COUNT VI
                         (Against Gubarev and Bezruchenko)
                  FRAUDULENT TRANSFER UNDER §726, Fla. Stat. (2012)

          48.    The allegations in this paragraph do not pertain to Defendants, and Defendants

   therefore deny the same.

          49.    The allegations in this paragraph do not pertain to Defendants, and Defendants

   therefore deny the same.

          50.    The allegations in this paragraph do not pertain to Defendants, and Defendants

   therefore deny the same.

          51.    The allegations in this paragraph do not pertain to Defendants, and Defendants

   therefore deny the same.




                                                  7

                                                                                        P-K000058
Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 9 of 13



          52.    The allegations in this paragraph do not pertain to Defendants, and Defendants

   therefore deny the same.

          53.    The allegations in this paragraph do not pertain to Defendants, and Defendants

   therefore deny the same.

                                      COUNT VII
                                 (Against all defendants)
                       DECEPTIVE AND UNFAIR TRADE PRACTICES
                              UNDER § 501, Fla. Stat. (2012)

          54.    Defendants filed a Motion to Dismiss Counter VII of Plaintiff’s Second Amended

   Complaint.

          55.    Defendants filed a Motion to Dismiss Counter VII of Plaintiff’s Second Amended

   Complaint.

                                        COUNT VIII
                                   (Against all defendants)
                              VIOLATION OF § 608, Fla. Stat. (2012)

          56.    Defendants restate and incorporate by reference their answers to the allegations in

   paragraph 1 through 21.

          57.    Denied.

                                       GENERAL DENIAL

          Each and every allegation of the Complaint not specifically admitted is hereby denied.



                                   AFFIRMATIVE DEFENSES

          1.     The Complaint, whole or in part, fails to state a claim upon which relief can be

   granted.

          2.     Depicto is barred from equitable recovery inasmuch as it has unclean hands.




                                                  8

                                                                                         P-K000059
Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 10 of 13



           3.      Each of the Counts of the Complaint is barred by their respective statutes of

   limitations.

           4.      The Complaint is barred, in whole or in part, by the statute of frauds.

           5.      The Complaint is barred, in whole or in part, by the doctrine of laches.

           6.      The Complaint is barred, in whole or in part, by the doctrine of accord and

   satisfaction.

           7.      Depicto lacks standing on all or some of the Counts of its Complaint.

           8.      The Complaint, and each count purportedly stated therein, is barred because

   Depicto has not suffered the damages claimed.

           9.      The Complaint, and each count purportedly stated therein, fails to state a claim

   because the allegations are not stated with particularity.

           10.     Depicto’s claims are barred by its own fraud.

           11.     The Complaint is barred, in whole or in part, because any damages to Depicto are

   a result of Depicto’s own conduct.

           12.     The Complaint is barred, in whole or in part, because any damages to Depicto

   were not the proximate result of Defendants’ actions or omissions.

           13.     The Complaint is barred, in whole or in part, because Depicto has suffered no

   compensable injury.

           14.     Depicto is not entitled to injunctive relief because it has not established

   irreparable harm.

           15.     Depicto is not entitled to an award of attorneys’ fees in absence of a statute or law

   authorizing such fees.




                                                     9

                                                                                              P-K000060
Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 11 of 13



          16.     Depicto cannot recover damages from Defendants to the extent that Depicto failed

   to mitigate its alleged damages.

          17.     Without admitting that the Complaint states a claim, Depicto’s remedies are

   limited to the extent that there is sought an overlapping or duplicative recovery pursuant to the

   various claims against Defendants or other for any alleged single wrong.

          18.     Defendants’ actions and omissions were lawful, justified and privileged.

          19.     Depicto lacks the capacity to sue.

          20.     Defendants lack the capacity to be sued.

          21.     The Complaint is barred by waiver, negligence, failure to mitigate damages, lack

   of privity of contract, absence of contract, estoppels, set-off, recoupment, release, and such other

   and further affirmative defenses as set forth in Rule 1.110(d) of the Florida Rules of Civil

   Procedure as may be deemed applicable to this case by further discovery and disclosure.

                                      RESERVATION OF RIGHTS

          Defendants reserve the right to raise additional affirmative defenses as may determined

   necessary during the course of discovery and to seek attorney’s fees and costs under any

   applicable law or statute.



                 DEFENDANTS DEMAND A TRIAL BY JURY ON ALL ISSUES




                                                    10

                                                                                           P-K000061
Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 12 of 13



   Respectfully submitted,
                                             Webazilla LLC and Webzilla Inc.,
                                             By their Attorneys,


                                             /s/ Matthew Shayefar, Esq.
                                             Matthew Shayefar, Esq. (pro hac vice)
                                             Tel: 617-928-1806
                                             matt@bostonlawgroup.com
                                             Valentin David Gurvits, Esq. (pro hac vice)
                                             Tel: 617-928-1804
                                             vgurvits@bostonlawgroup.com
                                             BOSTON LAW GROUP, PC
                                             825 Beacon Street, Suite 20
                                             Newton Centre, Massachusetts 02459
                                             Fax: 617-928-1802


                                             /s/ Brady J. Cobb, Esq.
                                             Brady J. Cobb, Esq. (Fla. Bar # 031018)
                                             COBB EDDY MIJARES, PLLC
                                             642 Northeast Third Avenue
                                             Fort Lauderdale, Florida 33304
                                             Tel: 954-527-4111
                                             Fax: 954-900-5507
                                             bcobb@cemlaw.net




                                        11

                                                                             P-K000062
Case 0:17-cv-60426-UU Document 83-5 Entered on FLSD Docket 11/01/2017 Page 13 of 13



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

   via electronic mail to: Louiza Tarassova, Esq, (Louiza@mylawadvocate.com) The Law Office

   of Louiza Tarassova, P.A., Attorney for the Plaintiff and Matthew Shayefar, Esq.

   (matt@bostonlawgroup.com), Boston Law Group, PC, co-counsel for Defendants and Richard

   Petrovich, Tripp Scott, P.A. (rlp@trippscott.com) , counsel for individual Defendants, this 22nd

   day of May, 2014.


                                               COBB EDDY MIJARES, PLLC
                                               Attorneys for Defendants
                                               642 Northeast Third Avenue
                                               Fort Lauderdale, Florida 33304
                                               Telephone (954) 527-4111
                                               Facsimile (954) 900-5507
                                               www.cemlaw.net


                                               By: /s/ BRADY J. COBB
                                               BRADY J. COBB, ESQUIRE
                                               Florida Bar No. 031018
                                               bcobb@cemlaw.net




                                                 12

                                                                                       P-K000063
